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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TAMSIN WOLF                                                     Index No. 09-CV-06549-RJS
                                               Plaintiff

                           vs.

TIME WARNER INC.
                                             Defendant.



  DECLARATION OF BRENDA C. KARICKNOFF IN SUPPORT OF DEFENDANT’S
                 MOTION FOR SUMMARY JUDGMENT

I, Brenda C. Karickhoff, declare, under penalty of peijury, as follows:

   1.   I am Senior Vice President and Deputy General Counsel at Time Warner Inc. (“Time

        Warner”).

  2.    I have examined documents bearing the following Bates numbers which contain my

        talking points for various meetings I have attended at Time Warner:

        TimeWarnerHCO 1685-86 (4/30/07 meeting), TimeWarnerHCO 1789-90 (7/5/07 meeting),

        TimeWarnerHCO 1713-15 (7/19/07 meeting), TimeWarnerHCOO63O-32 (8/6/07 meeting).

  3.    The handwritten markings on documents HC01685-86, HC01789-90 and HC01713-15

        are Kimmberly Bulkley’s markings, and not my own.

  4.    However the typed portion of all of the talking points described in paragraph 2 above

        fully and accurately reflect the substance of my comments during those meetings.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on October’j, 2011.




                                                                      Brenda C. Karicichoff   V
